Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 1 of 40 PageID #:738




              Exhibit 1
   Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 2 of 40 PageID #:739




                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 AMANDA DECKER,

      Plaintiff,                                            Case No: 1:17-cv-04152

 v.

 RECEIVABLES PERFORMANCE
                                                            Honorable Judge Manish S. Shah
 MANAGEMENT, LLC,

      Defendant.


                          DECLARATION OF MOHAMMED O. BADWAN

        I, Mohammed O. Badwan, declare under penalty of perjury, that the following is true and

accurate to the best of my knowledge:

      1.    I am over the age of 21, under no legal disability, and I have personal knowledge of the

facts set forth in this Declaration.

      2.    I served as Plaintiff’s lead counsel in this case.

      3.    I graduated from the University of Illinois Urbana-Champaign in 2006 with a degree in

Liberal Arts and Sciences (Psychology).

      4.    I obtained a law degree from Southern Illinois University School of Law in 2009.

      5.    I have been admitted to the practice of law since 2009.

      6.    I am a member of good standing of the following Courts:

             •     The United States Court of Appeals for the Seventh Circuit
             •     The United States District Court for the Northern, Central, and Southern Districts
                   of Illinois
             •     The United States District Court for the Northern and Southern Districts of Indiana
             •     The United States District Court for the Eastern and Western Districts of Wisconsin


                                               -1-
   Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 3 of 40 PageID #:740




               •     The United States District Court for the Northern, Eastern, Western, and Southern
                     Districts of Texas
               •     The United States District Court of Colorado
               •     The United States District Court for the Northern District of Ohio
               •     The United States District Court for the Eastern and Western Districts of Michigan
               •     The United States Bankruptcy Court for the Northern District of Illinois
               •     State Courts of Illinois
      7.           I have substantial experience in representing consumers in individual cases and class

actions brought pursuant to the Fair Debt Collection Practices Act (“FDCPA”), Fair Credit

Reporting Act (“FCRA”), Telephone Consumer Protection Act (“TCPA”), and the Illinois

Consumer Fraud and Deceptive Business Practices Act (“ICFA”).

      8.   I have represented over 800 consumers in consumer litigation cases filed in Illinois and

other jurisdictions. I have also represented over 800 consumers on a non-contingency basis in

bankruptcy cases (Chapters 7, 13 and 11) filed in the Bankruptcy Court for the Northern District

of Illinois.

      9.   The current rate that I bill per hour in FDCPA cases is $450.00, which is justified by my

experience, skill, the nature and complexity of the cases I handle, and the relative risk involved in

consumer cases.

      10. The rate that I billed per hour in this case is $425.00, which is justified by my experience,

skill, the nature and complexity of the case, and the relative risk involved in a contingency

representation. See Exhibit 1-A attached hereto.

      11. The rate that I bill in non-contingency cases is $425.00, which has been approved by

Courts in this District. See e.g. In re Rensi, 15-bk-33948 (Bankr. N.D. Ill. 2015) [Dkt. 12, 25]; In

re Giron, 15-bk-07521 (Bankr. N.D. Ill. 2015) [Dkt. 134, 139]; In re Boone, 13-bk-49125

(Bankr. N.D. Ill. 2013) [Dkt. 12, 24];see also Group Exhibit 1-B attached hereto.


                                                 -2-
  Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 4 of 40 PageID #:741




     12. My most recent approved hourly rate in a FDCPA case was for $375.00 in 2017. See

Exhibit 1-C attached hereto.

     13. The hourly rate of $425.00 that I billed in this case is consistent with that charged by

attorneys practicing consumer law, as reported in the United States Consumer Law Attorney Fee

Survey Report 2015-2016, ps. 27-29, 223-224, said Report being available online at

https://www.nclc.org/images/pdf/litigation/tools/atty-fee-survey-2015-2016.pdf.

     14. Courts using the US Consumer Law Attorney Fee Survey Report when deciding fee

disputes in Consumer Law cases include the following: Decker v. Transworld Systems, Inc., 2009

WL 2916819 (N.D. Ill. 2009) (finding results in the United States Consumer Law Attorney Fee

Survey Report to be supported by the Laffey Matrix); Vahidy v. Transworld Systems, Inc., 2009

WL 2916825 (N.D. Ill. 2009) (finding results in the 2007 United States Consumer Law Attorney

Fee Survey Report to be supported by the Laffey Matrix).

     15. My hourly rate is further supported by the fact that I have prevailed in obtaining

settlement or judgment on behalf of my clients in over 90% of the cases that I have filed on behalf

of my clients.

     16. My experience in consumer litigation has led to numerous speaking engagements,

including speaking appearances at the annual convention for the National Association of

Consumer Bankruptcy Attorneys (“NACBA”), the American Conference Institute, the American

Bankruptcy Institute (“ABI”), the Conference on Consumer Finance Law, and Max Gardner’s

Bankruptcy Litigation Model Bootcamp.

     17. I have been annually recognized by Thomson Reuters as an Illinois Super Lawyer Rising

Star from 2013 through the present.




                                            -3-
   Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 5 of 40 PageID #:742




      18. I expended 112.0 hours litigating this case from inception through preparation of the

Local Rule 54.3 Joint Statement. See Exhibit 1-D attached hereto.

      19. The lodestar fee amount for the work I expended is $47,600.00 (112 hours x $425.00).

      20. I completely performed the services reflected in Exhibit 1-D. The services performed

were both reasonable and necessary for a zealous representation of my client, especially in

light of RPM’s vigorous defense in this litigation.

      21. RPM’s best offer to settle Plaintiff’s claims prior to the Court’s ruling on RPM’s Motion

for Summary Judgment was less than $5,000.

      22. RPM’s first offer to settle Plaintiff’s attorney’s fees after Plaintiff accepted the offer of

judgment was $5,000, tendered on June 28, 2019.

      23. RPM’s best offer to date to settle Plaintiff’s attorney’s fees has been $10,000, which

was tendered on September 27, 2019.

      24. On numerous occasions during the litigation, Plaintiff made demands to RPM and RPM

responded with “no counter.”

      25. The time spent performing the services was reasonable in light of the circumstances

presented in this litigation.

      26. I have reviewed the time sheets for Marwan Daher and find the hours he expended in

this case to be reasonable and necessary.

      27. I am familiar with hourly rates of attorneys in this District that perform FDCPA work.

      28. Marwan Daher’s hourly rate of $275.00 is reasonable and consistent with his experience

and skill level.

      29. The requested attorney’s fees are reasonable and the work rendered was necessary for

an effective legal representation.



                                              -4-
  Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 6 of 40 PageID #:743




Pursuant to 28 U.S.C. § 1746(2), I, Mohammed O. Badwan, hereby declare under penalty of

perjury that the foregoing is true and correct.




Dated: November 5, 2019                                 Respectfully Submitted,



                                                        s/ Mohammed O. Badwan




                                             -5-
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 7 of 40 PageID #:744




          Exhibit 1-A
     Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 8 of 40 PageID #:745




                           UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

AMANDA DECKER,                                 )
                                               )
                  PLAINTIFF,                   )
                                               )
                                               )       Civil Action No.17cv04152
                  v.                           )
                                               )       Judge Manish S. Shah
RECEIVABLES PERFORMANCE                        )
MANAGEMENT, LLC,                               )
                                               )
                   DEFENDANT.                  )
                                               )

                        DECLARATION OF MARIO KRIS KASALO

        I, Mario Kris Kasalo, being first duly sworn on oath, deposes and states as follows:

1.      That I am an attorney who focuses on consumer protection litigation in this District and

        Circuit.

2.      That the information in this Declaration is true to the best of my knowledge.

3.      That I have been admitted to the practice of law since August 31, 2007.

4.      That I am admitted to practice within the State Courts of Illinois, the United States District

        Court for the Northern District of Illinois (General and Trial Bar), the United States District

        Court for the Southern District of Illinois, the United States District Court for the Central

        District of Illinois, the United States District Court for the Eastern District of Michigan,

        Southern Division, The United States District Court for the Southern District of Indiana,

        The United States District Court for the Northern District of Oklahoma, and The United

        States Court of Appeals, 7th Circuit, and the United States Court of Appeals, 8th Circuit. I

        am also licensed to practice as a patent agent before the United States Patent and Trademark

        Office.
     Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 9 of 40 PageID #:746




5.      That I have substantial experience in litigation under the provisions of the Fair Debt

        Collection Practices Act, 15 U.S.C. §1692 et seq (“FDCPA”), which is the main focus of

        my practice.

6.      That I have filed and resolved over 320 FDCPA cases in federal district courts in Illinois,

        Indiana, Michigan, and Oklahoma including both individual and class actions.

7.      That my current hourly rate for FDCPA cases is $425, which has been my hourly rate since

        January 1, 2019.

8.      My previous hourly rate for FDCPA litigation was $400.00, which was my hourly rate

        between November 1, 2015 and December 31, 2018, and which has been approved by

        Judges in this District for work done in FDCPA cases such as this one.

9.      The $25.00 increase in my hourly rate, beginning on December 31, 2018, was justified by

        my increased experience, and success and reputation in litigating these types of cases, since

        I last raised my hourly rate on November 1, 2015. See Nevins v. Med-1 Sols., LLC, No.

        1:18-cv-763-JMS-MPB, 2018 U.S. Dist. LEXIS 180579, at *7 (S.D. Ind. Oct. 22, 2018).

10.     My hourly rate is further supported by the fact that I have prevailed in obtaining settlement

        or judgment on behalf of my clients in over 96% of the cases that I have filed in the

        Northern District of Illinois, that have to date settled or been resolved.

11.     I was/am counsel in the following FDCPA cases filed as class actions:

        Kalish v Transworld Systems, Inc. Case No. 12-cv-8614, (N.D.IL) (settled as to class,

        certified)

        Woodward v Miramed Revenue Group, LLC Case No. 12-cv-4073 (N.D.IL)

        Abrams v Miramed Revenue Group, LLC Case No. 13-cv-00797-TWP-DML (S.D.IN)

        Wohadlo v The CBE Group, Inc. Case No. 13-cv-7229 (N.D.IL)
  Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 10 of 40 PageID #:747




      Murphy v Midland, 14-cv-8780 Case No. (N.D.IL)

      Belkadi v. Portfolio Recovery Associates, LLC, Case No.14-cv-4965 (N.D.IL)

      Lill v. Kovitz Shifrin Nesbit, Case No. 14-cv-2647 (N.D.IL) (settled as to class, certified)

      Wingate v. Resurgence Capital, LLC, et al Case No. 14-cv-7753, (N.D.IL) (settled as to

      class, certified).

      Cruz v Frontline, et al, Case No. 15cv9282 (N.D. IL) (settled as to class, certified).

      Jane Bishop Lillegard v. Unifund CCR, LLC et al, Case No, 16-cv-8075 (J. Lee, N.D. IL)

      (settled as to class, certified).

12.   I represented the plaintiff consumer in the litigation and trial of the FDCPA case of Amy

      Gregory v. Arthur B. Adler & Associates, Ltd., Case No, 12-cv-7351 (J. Norgle, N.D. IL)

      where judgment was entered in favor of the plaintiff in that case after a jury trial was held in

      the United States District Court, Northern District of Illinois, Eastern Division. I filed a motion

      for attorney fees and costs in that case that was contested, and my previous hourly rate of $400

      was granted for work done between 2012 and 2016.

13.   I represented the plaintiff consumer in the litigation of the FDCPA case of Jane Bishop

      Lillegard v. Unifund CCR, LLC et al, Case No, 16-cv-8075 (J. Lee, N.D. IL) where a class

      action case was settled in the United States District Court, Northern District of Illinois, Eastern

      Division. I filed a motion for attorney fees and costs in that case that was approved at an hourly

      rate of $400. (Dkt.#125, 128).

14.   I represented the plaintiff consumer in the litigation and trial of the FDCPA case of Isaac Paz

      v. Portfolio Recovery Associates, LLC, Case No, 14cv9751 (J. Alonso) where judgment was

      entered in favor of the plaintiff after a jury trial was held in the United States District Court,

      Northern District of Illinois, Eastern Division. My former hourly rate of $375 was found to
  Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 11 of 40 PageID #:748




      be reasonable in that case for work I performed before November 1, 2015, in a contested

      petition. (Dkt. # 231, p.18-19).

15.   I represented the plaintiff in a class action suit titled Ana Cruz v. NCEP, LLC, Case No. 15-

      cv-9282 (J. Pallmeyer), where the Court approved my former $400 hourly rate in an FDCPA

      case. (Dkt. #62, 63 in Case No. 15cv9282).

16.   I represented the plaintiff in an FDCPA case titled Yasser Elseweifi v. Cedars Financial, Case

      No. 16-cv-8684 (N.D. IL), where Judge Blakey approved my former $400 hourly rate (Dkt.

      #14-16 in Case No. 16-cv-8684).

17.   I represented the plaintiff in an FDCPA class action suit titled Lill v. Kovitz Shifrin Nesbit,

      Case No. 14-cv-2647 (N.D.IL), where Judge Mason approved my former $400 hourly rate

      in an FDCPA class action case. (Dkt. #138).

18.   Previous to charging and being approved at my previous $400 hourly rate for FDCPA

      litigation representation, I represented the plaintiff in the case of Tommy Kasalo v. Trident

      Asset Management, LLC, Case No. 12-cv-2900 (J. Kennelly, N.D. IL), filed in the United

      States District Court, Northern District of Illinois, Eastern Division, where judgment was

      entered in favor of the Plaintiff. Defendant contested my hourly rate, which it urged should

      be no higher than $275. (Trident, Dkt.#173, p. 6-7). The Court disagreed, and commented

      that Defendant had “…essentially pulled it out of the air.” The Court instead approved my

      previous hourly rate of $350 for work from 2012-13 and $375 for work in 2014. Id.

19.   I represented the plaintiff in a successful appeal of a dismissal of an FDCPA case in the United

      States Court of Appeals for the 7th Circuit, titled Loja v. Main St. Acquisition Corp., 906 F.3d

      680 (7th Cir. 2018).
  Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 12 of 40 PageID #:749




20.   I am familiar with the hourly rates charged by attorneys with comparable experience to

      attorney Mohammed Badwan in this District, for FDCPA litigation in cases like this one.

21.   I am familiar with Mohammed Badwan’s work in this case and other FDCPA cases he has

      filed in this District.

22.   I have reviewed the time and work records of Mohammed Badwan attached to Plaintiff’s fee

      petition above-captioned case, as well as the complaint in the above-captioned case.

23.   Upon reviewing the time and work records, it is my opinion that the requested attorney fees

      and costs sought therein were reasonable and necessary to litigation in this case.

24.   Upon reviewing the hourly rate sought by Mohammed Badwan, it is my opinion that the rate

      is reasonable and comparable to the rates charged by consumer attorneys of similar experience

      in this District for the type of work performed herein.



       Pursuant to 28 U.S.C. § 1746(2), I, Mario Kris Kasalo, hereby declare under penalty

      of perjury that the foregoing is true and correct.




      Dated: August 13, 2019
                                                     By: /s/ Mario Kris Kasalo
                                                     Mario Kris Kasalo
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 13 of 40 PageID #:750




           Group
         Exhibit 1-B
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 14 of 40 PageID #:751
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 15 of 40 PageID #:752
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 16 of 40 PageID #:753
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 17 of 40 PageID #:754
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 18 of 40 PageID #:755
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 19 of 40 PageID #:756
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 20 of 40 PageID #:757
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 21 of 40 PageID #:758
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 22 of 40 PageID #:759
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 23 of 40 PageID #:760
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 24 of 40 PageID #:761
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 25 of 40 PageID #:762
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 26 of 40 PageID #:763
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 27 of 40 PageID #:764




         Exhibit 1-C
  Case:
   Case:1:17-cv-04152
         1:14-cv-08271Document
                       Document#:#:65-1
                                    152 Filed:
                                        Filed: 11/05/19
                                               10/25/17 Page
                                                        Page 28
                                                             1 ofof940 PageID
                                                                     PageID   #:765
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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


IWONA PORTALATIN,                         )
                                          )
                     Plaintiff,           )
                                          )
       vs.                                )              Case No. 14 C 8271
                                          )
BLATT, HASENMILLER,                       )
LEIBSKER & MOORE, LLC,                    )
                                          )
                     Defendant.           )


                        MEMORANDUM OPINION AND ORDER

MATTHEW F. KENNELLY, District Judge:

       Iwona Portalatin sued Blatt, Hasenmiller, Leibsker & Moore, LLC, a law firm, and

Midland Funding, LLC, alleging they violated the Fair Debt Collection Practices Act, 15

U.S.C. § 1692i(a). Blatt filed a debt collection suit on Midland's behalf against Portalatin

in the Circuit Court of Cook County's First Municipal District—whose courthouse is in

downtown Chicago—rather than in the court's Fourth Municipal District, in which

Portalatin resided. Portalatin settled with Midland.

       The Court entered summary judgment in favor of Portalatin against Blatt on the

issue of liability, overruling Blatt's contention that its violation of the FDCPA was based

on a "bona fide error" due to its reliance on legal precedent. Portalatin v. Blatt,

Hasenmiller, Leibsker & Moore, LLC, 125 F. Supp. 3d 810 (N.D. Ill. 2015). The Court

declined to stay the case pending the Seventh Circuit's en banc consideration of a case

called Oliva that also involved Blatt and the same bona fide error issue, so the case

proceeded to a jury trial on damages in November 2015.
  Case:
   Case:1:17-cv-04152
         1:14-cv-08271Document
                       Document#:#:65-1
                                    152 Filed:
                                        Filed: 11/05/19
                                               10/25/17 Page
                                                        Page 29
                                                             2 ofof940 PageID
                                                                     PageID   #:766
                                                                            #:1432



       At trial, Portalatin sought only statutory damages, asking the jury to award the

statutory maximum of $1,000. Blatt argued that the jury should award no damages.

The jury awarded Portalatin $200. The Court entered judgment in Portalatin's favor and

denied Blatt's post-trial motions in February 2016. See Portalatin v. Blatt, Hasenmiller,

Leibsker & Moore, LLC, No. 14 C 8271, 2016 WL 693208 (N.D. Ill. Feb. 20, 2016). Blatt

filed a notice of appeal in March 2016. The Seventh Circuit stayed the appeal pending

resolution of Oliva, and this Court similarly stayed the filing of Portalatin's fee petition.

       In July of this year, the Seventh Circuit, sitting en banc, ruled against Blatt on the

bona fide error issue. Oliva v. Blatt, Hasenmiller, Leibsker & Moore, LLC, 864 F.3d 492

(7th Cir. 2017). This Court then lifted the stay in the present case, and Portalatin has

filed a petition for attorney's fees and expenses, which the Court considers in this

decision.

                                         Discussion

       There is no question that Portalatin is a prevailing party entitled to a fee award

under 15 U.S.C. § 1692k(a)(3). Portalatin won the case. The Court entered summary

judgment in her favor against Blatt on the issue of liability, and a jury awarded her

statutory damages, albeit less than what she requested.

       Attorney's fees under the FDCPA are determined in the same way as under other

federal fee-shifting statutes, namely, by multiplying a reasonable hourly rate for the

attorney's services by the number of hours reasonably expended. See Gastineau v.

Wright, 592 F.3d 747, 748 (7th Cir. 2010) (citing Hensley v. Eckerhart, 461 U.S. 424,

433-37 (1983)). "If necessary, [a] district court has the flexibility to adjust that figure to

reflect various factors including the complexity of the legal issues involved, the degree



                                               2
     Case:
      Case:1:17-cv-04152
            1:14-cv-08271Document
                          Document#:#:65-1
                                       152 Filed:
                                           Filed: 11/05/19
                                                  10/25/17 Page
                                                           Page 30
                                                                3 ofof940 PageID
                                                                        PageID   #:767
                                                                               #:1433



of success obtained, and the public interest advanced by the litigation." Id. (internal

quotation marks omitted).

         Portalatin had three attorneys work on the case during the time it was pending in

this Court. The laboring oar was carried by Mohammed Badwan of Sulaiman Law

Group, Ltd. Ross Zambon, who is of counsel to Sulaiman Law Group, also performed

work on the case. Finally, Nick Wooten, an Arkansas-based attorney, came into the

case once it was set for trial and served as lead trial counsel.

         Portalatin seeks to recover for 161.5 hours of Badwan's time at a rate of $375 per

hour. She seeks to recover for 64.5 hours of Wooten's time at a rate of $550 per hour;

Wooten put in another 20 hours on the case for which Portalatin does not seek to

recover fees. Finally, Zambon worked 29.4 hours and claims an hourly rate of $425, but

Portalatin has exercised "billing judgment," Spegon v. Catholic Bishop of Chi., 175 F.3d

544, 552 (7th Cir. 1999), and does not seek to recover for Zambon's time.

         The total award that Portalatin requests is $96,037.50, plus costs of $772.95.

Blatt does not object to the requested cost award but argues that the requested

attorney's fees are excessive. The Court notes that records produced by Blatt at the

Court's direction during the process of briefing the petition reflect that Blatt's counsel

billed it for 173.9 hours at rates ranging from $350 per hour to $550 per hour, for a total

of $88,078.

1.       Hourly rates

         Portalatin has the burden of persuasion on whether the requested hourly rates

are reasonable. Hensley, 461 U.S. at 437. The Court begins with the proposed $375

hourly rate for Badwan. Badwan has been practicing law since 2009. He has had fees



                                              3
  Case:
   Case:1:17-cv-04152
         1:14-cv-08271Document
                       Document#:#:65-1
                                    152 Filed:
                                        Filed: 11/05/19
                                               10/25/17 Page
                                                        Page 31
                                                             4 ofof940 PageID
                                                                     PageID   #:768
                                                                            #:1434



approved in bankruptcy litigation at a higher rate ($425). Blatt has offered no contrary

evidence. The Court also notes that Blatt's counsel billed out at $350 per hour two

"junior associates" who appear to have somewhat less practice experience than

Badwan. In addition, the Court recently approved a $375 rate in a consumer-law case

for an attorney with a similar level of experience, finding that rate to be properly

supported with reference to rates commonly charged in this area under similar

circumstances. See Stockman v. Global Credit and Collection Corp., No. 14 C 6862,

2015 WL 4999851, at *4 (N.D. Ill. Aug. 21, 2015); Kasalo v. Trident Asset Mgmt., LLC,

No. 12 C 2900, 2015 WL 2097605, at *3 (N.D. Ill. May 3, 2015). For these reasons, the

Court finds that Portalatin has established that Badwan's requested rate of $375 is

reasonable.

       Wooten has been practicing law since 1997. He seeks an hourly rate of $550.

His reasonable rate is appropriately higher than Badwan's given his greater level of

practice experience. But Wooten has done next to nothing to support his requested

rate. He cites no billed rates for hourly-rate-paying clients and no fee awards in other

cases. His only evidence of other specific hourly rates consists of somewhat vague and

unsupported references to rates charged by opposing counsel in other cases. This is

less than persuasive given (among other things) the absence of supporting detail. To

be sure, Wooten's requested rate is the same charged by lead defense counsel David

Hartsell for the latter part of this litigation—around the same period when Wooten was

involved—and, based on review of information on Hartsell's law firm's website, he

appears to have approximately the same amount of practice experience as Wooten.

But that is a rather thin reed on which to base an hourly rate. Wooten also cites the so-



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     Case:
      Case:1:17-cv-04152
            1:14-cv-08271Document
                          Document#:#:65-1
                                       152 Filed:
                                           Filed: 11/05/19
                                                  10/25/17 Page
                                                           Page 32
                                                                5 ofof940 PageID
                                                                        PageID   #:769
                                                                               #:1435



called "Laffey Matrix," but its usefulness in determining reasonable market rates—at

least for Chicago—is suspect. See Pickett v. Sheridan Health Care Ctr., 664 F.3d 632,

649-51 (7th Cir. 2011). This Court has declined to give it significant weight in other

cases, see, e.g., Wells v. City of Chicago, 925 F. Supp. 2d 1036, 1040 (N.D. Ill. 2013),

and Portalatin has made no effort to explain its usefulness here. With nothing more

than this and Wooten's essentially self-serving affidavit supporting his proposed rate,

the Court finds that Portalatin has not established that $550 is Wooten's reasonable

rate. The Court applies its experience in similar litigation and sets a rate of $425 for

Wooten.

2.       Attorney time

         The Sulaiman firm filed about 55 similar suits alleging violation of the FDCPA's

requirements for the venue of collection suits, 13 of them against Blatt. Blatt argues

that because of the significant legal (and, to some extent, factual) overlap among these

cases, the time spent on this one was excessive and represents duplication of effort vis-

à-vis the other cases.

         Badwan billed 36.8 hours from the outset of the lawsuit through the summary

judgment stage. During this period, Badwan drafted and filed the complaint; reviewed

Blatt's answer; prepared Rule 26(a)(1) disclosures; drafted written discovery requests;

prepared Portalatin for her deposition and attended the deposition; and attended

several status and other hearings before the Court. More significantly, Badwan

prepared not one, but two summary judgment briefs—because there were cross-

motions—as well as Local Rule 56.1 statements. The Court has reviewed his time

records and finds the time spent during this period reasonable, except for a reduction of



                                              5
    Case:
     Case:1:17-cv-04152
           1:14-cv-08271Document
                         Document#:#:65-1
                                      152 Filed:
                                          Filed: 11/05/19
                                                 10/25/17 Page
                                                          Page 33
                                                               6 ofof940 PageID
                                                                       PageID   #:770
                                                                              #:1436



2.1 hours for time spent in connection with Portalatin's deposition. Contrary to Blatt's

contention, the time Badwan spent preparing the summary judgment briefs and Local

Rule 56.1 statements, 11.5 hours, is quite modest and does not reflect overbilling or

effective double-billing or duplication for work done in or attributable to other cases. In

sum, the time that Badwan reasonably spent during this period is 34.7 hours.

        Badwan spent 86.7 hours preparing for trial and trying the case. Blatt complains

that this is grossly excessive, but it is hard to take that too seriously. The Court granted

summary judgment in Portalatin's favor, a ruling later confirmed by the Seventh Circuit's

en banc decision in Oliva. There was only one issue left, namely what amount of

money Portalatin should recover for Blatt's violation of the FDCPA. Blatt could have

tried to settle at that point, but it expressed no interest in doing so—just as earlier, when

it rejected any effort at settlement (as was its right). Rather, Blatt consistently

expressed its intention to fight on. As the case approached trial, the Court urged Blatt

to consider an option under which it would agree to a statutory damage award in some

amount and preserve its liability and other issues for appeal. Blatt flatly rejected this

too. In doing so, Blatt's counsel made the firm's intentions clear: it hoped to persuade

the jury to award no damages and then argue that Portalatin should recover no

attorney's fees. See Nov. 19, 2015 Tr. at 3-6. 1 That strategy, we now know, was

unsuccessful, as the jury did in fact make an award of damages. Blatt also filed a flurry

of motions just before trial, to which Portalatin was required to respond. Fighting for

every last inch of ground was certainly Blatt's right, but Blatt cannot viably follow that



1In this regard, the Court notes that in citing, at the final pretrial conference, another
previous case involving this same question regarding a fee award, it incorrectly
attributed the case to Hartsell's firm. See id. at 6. The Court apologizes for the error.
                                              6
  Case:
   Case:1:17-cv-04152
         1:14-cv-08271Document
                       Document#:#:65-1
                                    152 Filed:
                                        Filed: 11/05/19
                                               10/25/17 Page
                                                        Page 34
                                                             7 ofof940 PageID
                                                                     PageID   #:771
                                                                            #:1437



course and then successfully that Portalatin should have prosecuted the case more

cheaply or rolled over and played dead. See, e.g., Barrow v. Falck, 977 F.2d 1100,

1104 (7th Cir. 1992); see also City of Riverside v. Rivera, 477 U.S. 561, 581 n.11 (1986)

(a defendant "cannot litigate tenaciously and then be heard to complain about the time

necessarily spent by the plaintiff in response").

       The Court also notes that time spent by Badwan preparing for trial—including

preparing the final pretrial order and responding to Blatt's eve-of-trial filings—was

reasonably comparable to that spent by Blatt. The same is true of the time spent on

post-trial motions; Badwan spent less time briefing these than defense counsel did, just

as he spent less time preparing the final pretrial order and jury instructions than defense

counsel. In sum, the Court finds reasonable the 86.7 hours Badwan spent on trial

preparation and trial and the 16.2 hours he spent on the post-trial motions. The Court

reduces by one-half, to 5.3 hours, the time requested for status conferences following

trial and during the stay period; Badwan billed 2 hours for several of these, which is

excessive. The Court also reduces by one-half, to 5.6 hours, the time spent on the fee

petition, as the time requested is excessive in light of the legal (as opposed to

clerical/compilation) work reasonably done.

       In sum, the Court approves 148.5 hours of Badwan's time at $375 per hour, for a

total of $55,687.50.

       Wooten's time is a different story. The Court finds persuasive Portalatin's

contention that it was reasonable to have two lawyers involved as the case neared trial,

given the need to respond to motions filed by Blatt around the same time as final

preparation for trial was taking place. In addition, Badwan, despite his significant overall



                                              7
  Case:
   Case:1:17-cv-04152
         1:14-cv-08271Document
                       Document#:#:65-1
                                    152 Filed:
                                        Filed: 11/05/19
                                               10/25/17 Page
                                                        Page 35
                                                             8 ofof940 PageID
                                                                     PageID   #:772
                                                                            #:1438



experience level, is not a member of this district's "trial bar," likely due to the fact that

virtually all consumer-law cases settle before trial. But the amount of time requested for

Wooten is excessive and unreasonable. The only issue for trial was exactly what

amount of damages, if any, to award, and this was a relatively simple and

straightforward issue, particularly given the statutory cap of $1,000. Under the

circumstances, Portalatin has not justified shifting to Blatt the cost of 64.5 hours of

Wooten's time. Given the brevity of the trial and the simplicity of the issues, the Court

reduces Wooten's requested time by one-half, to 32.25 hours, which represents the time

reasonably spent preparing for and conducting the trial. At an hourly rate of $425, the

total fee award attributable to Wooten is $13,706.25.

       Blatt argues that any fee award should be reduced due to Portalatin's relative

lack of success, specifically her recovery of only a portion of the damages she sought.

The Court disagrees. It is true that the damages awarded were small, but statutory

damages under the FDCPA are capped at $1,000, meaning that even an award at the

maximum would have been small. As noted earlier, Blatt was shooting for a zero

award, and viewed through that lens Portalatin achieved a reasonable degree of

success by persuading the jury to make an award. And damages are not the only

issue: Portalatin prevailed as to liability on summary judgment, thereby establishing

that Blatt had violated the FDCPA. Finally, and perhaps most importantly, the

vindication of public rights like those established by the FDCPA and other consumer-law

statutes is not appropriately viewed simply in dollar terms. See City of Riverside v.

Rivera, 477 U.S. 561, 574 (1986); Zagorski v. Midwest Billing Servs., Inc., 128 F.3d

1164, 1167 (7th Cir. 1997). Litigation of this type serves an important public purpose of



                                               8
    Case:
     Case:1:17-cv-04152
           1:14-cv-08271Document
                         Document#:#:65-1
                                      152 Filed:
                                          Filed: 11/05/19
                                                 10/25/17 Page
                                                          Page 36
                                                               9 ofof940 PageID
                                                                       PageID   #:773
                                                                              #:1439



cabining unfair activities by debt collectors, a purpose recognized by Congress in the

express findings it made when it adopted the FDCPA. 2 See 15 U.S.C. § 1692(a)-(e).

The Court declines to reduce Portalatin's fee award based on her purported "limited"

success, claimed disproportionality, or otherwise.

                                        Conclusion

        For the reasons stated above, the Court grants plaintiff's petition for attorney's

fees and costs [dkt. no. 131] and awards plaintiff attorney's fees in the amount of

$69,393.75 ($55,687.50 for Badwan and $13,706.25 for Wooten) and costs in the

amount of $772.95.



Date: October 25, 2017                            ________________________________
                                                       MATTHEW F. KENNELLY
                                                       United States District Judge




2 The Court observes that if the case was as unimportant as Blatt suggests, it might
have been well-advised to offer a settlement at an early stage or even before the case
went to trial, as the Court suggested. By way of example, an offer of judgment of
$1,000 plus reasonable fees, or even $200 plus reasonable fees, made at or near the
outset of the case would have saved Blatt over $80,000 in its own legal fees plus almost
the entirety of the award the Court makes here.
                                              9
Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 37 of 40 PageID #:774




        Exhibit 1-D
            Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 38 of 40 PageID #:775


            Bill Date   Dur/Qty      Bill Code                            Description                           Staff   Client         Hourly Rate    Total
5/20/2017                 0.8     CONTINGENCY    Phone call with client                                         MRD Amanda Decker     $275.00         $220.00
5/24/2017                 0.4     CONTINGENCY    Phone call with client                                         MRD Amanda Decker     $275.00         $110.00
5/24/2017                 3.4     CONTINGENCY    Prepare Complaint                                              MRD Amanda Decker     $275.00         $935.00

6/30/2017                 0.1     CONTINGENCY    Email exchange with Sean Flynn re Stipulation to Extend Time   MRD   Amanda Decker   $275.00          $27.50
6/30/2017                 0.1     CONTINGENCY    Review Defendant's Motion for Extension of Time                MRD   Amanda Decker   $275.00          $27.50
7/1/2017                  0.8     CONTINGENCY    Review Defendant's Answer to Complaint                         MRD   Amanda Decker   $275.00         $220.00
8/1/2017                  0.1     CONTINGENCY    Email exchange with Sean Flynn re Joint Status Report          MRD   Amanda Decker   $275.00          $27.50
8/1/2017                  0.3     CONTINGENCY    Review Joint Status Report                                     MRD   Amanda Decker   $275.00          $82.50
8/3/2017                  0.4     CONTINGENCY    Prepare for Initial Status Hearing                             MRD   Amanda Decker   $275.00         $110.00
8/4/2017                   2      CONTINGENCY    Appear for Initial Status Hearing                              MRD   Amanda Decker   $275.00         $550.00
8/7/2017                  2.8     CONTINGENCY    Prepare Discovery Requests to Defendant                        MRD   Amanda Decker   $275.00         $770.00
8/9/2017                  0.1     CONTINGENCY    Email to Sean Flynn with Subpoena to LiveVox                   MRD   Amanda Decker   $275.00          $27.50
8/15/2017                 0.1     CONTINGENCY    Email exchange with Sean Flynn re available dates              MRD   Amanda Decker   $275.00          $27.50
8/15/2017                 0.1     CONTINGENCY    Email exchange with Sean Flynn re facts of case                MRD   Amanda Decker   $275.00          $27.50
8/15/2017                 0.1     CONTINGENCY    Email exchange with Sean Flynn re facts of case                MRD   Amanda Decker   $275.00          $27.50
                                                 Review email response from LiveVox counsel re document
8/30/2017                 0.1     CONTINGENCY    production                                                     MRD Amanda Decker     $275.00          $27.50
                                                 Reviewed email from Sean Flynn re discovery requests and
9/5/2017                  0.1     CONTINGENCY    notice of deposition                                           MRD Amanda Decker     $275.00          $27.50
9/19/2017                 0.1     CONTINGENCY    Email to Sean Flynn with Plaintiff's demand                    MRD Amanda Decker     $275.00          $27.50

9/19/2017                 0.1     CONTINGENCY    Email exchange with Sean Flynn re amending of the complaint MRD Amanda Decker        $275.00          $27.50
9/19/2017                 0.1     CONTINGENCY    Email to Sean Flynn re settlement demand                    MRD Amanda Decker        $275.00          $27.50
                                                 Email exchange with Sean Flynn re Notice of Deposition
9/19/2017                 0.1     CONTINGENCY    objections                                                  MRD Amanda Decker        $275.00          $27.50

9/20/2017                 0.1     CONTINGENCY    Reviewed email from Sean Flynn re discovery responses          MRD Amanda Decker     $275.00          $27.50

9/20/2017                 0.1     CONTINGENCY    Email exchange with Sean Flynn re amending of the complaint MRD Amanda Decker        $275.00          $27.50
9/21/2017                  1      CONTINGENCY    Rule 37 Meet and Confer re Deposition Topics                MOB Amanda Decker        $425.00         $425.00

9/21/2017                 0.1     CONTINGENCY    Email exchange with Sean Flynn re document production          MRD Amanda Decker     $275.00          $27.50

9/23/2017                 0.1     CONTINGENCY    Email exchange with Sean Flynn re proposed protective order    MRD Amanda Decker     $275.00          $27.50
                                                 Email exchange with Sean Flynn re verification of discovery
9/25/2017                 0.1     CONTINGENCY    responses                                                      MRD Amanda Decker     $275.00          $27.50
                                                 Email exchange with Sean Flynn re extension of time for
10/2/2017                 0.1     CONTINGENCY    discovery                                                      MRD Amanda Decker     $275.00          $27.50
10/12/2017                0.1     CONTINGENCY    Review Plaintiff's Verizon Call Records                        MRD Amanda Decker     $275.00          $27.50
                                                 Email exchange with Sean Flynn re initial response to
10/13/2017                0.1     CONTINGENCY    settlement demand                                              MRD Amanda Decker     $275.00          $27.50
                                                 Prepare Plaintiff's responses to Defendant's discovery
10/16/2017                5.8     CONTINGENCY    requests; confer with client re: same                          MRD Amanda Decker     $275.00        $1,595.00
10/20/2017                 2      CONTINGENCY    Appear for Status Hearing                                      NCV Amanda Decker     NC                    NC
10/20/2017                0.1     CONTINGENCY    Email to Sean Flynn re settlement demand                       MRD Amanda Decker     $275.00           $27.50
                                                 Email exchange with Sean Flynn re 10/20/17 status
10/20/2017                0.1     CONTINGENCY    conference                                                     MRD Amanda Decker     $275.00          $27.50
                                                 Email exchange with Sean Flynn re demand and document
10/23/2017                0.1     CONTINGENCY    production                                                     MRD   Amanda Decker   $275.00          $27.50
11/3/2017                 0.1     CONTINGENCY    Email to Sean Flynn re settlement demand                       MRD   Amanda Decker   $275.00          $27.50
11/14/2017                0.1     CONTINGENCY    Email to Sean Flynn re 30b6 witness availabilty                MRD   Amanda Decker   $275.00          $27.50
11/28/2017                0.1     CONTINGENCY    Email to Sean Flynn re LiveVox Subpoena                        MRD   Amanda Decker   $275.00          $27.50
12/1/2017                 0.1     CONTINGENCY    Email exchange with Leslie Handy re Initial Disclosures        MRD   Amanda Decker   $275.00          $27.50
12/8/2017                 0.1     CONTINGENCY    Email to Sean Flynn re possible dates for deposition           MRD   Amanda Decker   $275.00          $27.50
                                                 Email exchange with Sean Flynn re objections to notice of
12/14/2017                0.1     CONTINGENCY    deposition                                                     MRD   Amanda Decker   $275.00          $27.50
12/18/2017                0.1     CONTINGENCY    Email exchange with Sean Flynn re Plaintiff's Deposition       MRD   Amanda Decker   $275.00          $27.50
12/19/2017                0.4     CONTINGENCY    Review proposed protective order                               MRD   Amanda Decker   $275.00         $110.00
12/19/2017                0.1     CONTINGENCY    Reviewed email from Sean Flynn re discovery                    MRD   Amanda Decker   $275.00          $27.50
12/19/2017                0.1     CONTINGENCY    Email to Sean Flynn re protective order                        MRD   Amanda Decker   $275.00          $27.50
                                                 Phone Call with Nate Read re LiveVox subpoena response and
12/21/2017                0.5     CONTINGENCY    availability for deposition                                    MOB Amanda Decker     $425.00         $212.50

12/26/2017                0.1     CONTINGENCY    Email exchange with Sean Flyyn re Deposition of Plaintiff      MRD Amanda Decker     $275.00          $27.50

1/3/2018                  0.1     CONTINGENCY    Email exchange with LiveVox counsel re deposition availabilty MOB Amanda Decker      $425.00          $42.50
                                                 Email to Sean Flynn re possible telephonic deposition of
1/4/2018                  0.1     CONTINGENCY    Plaintiff                                                     MRD Amanda Decker      $275.00          $27.50
1/5/2018                  0.1     CONTINGENCY    Email exchange with Sean Flynn re depositions dates           MRD Amanda Decker      $275.00          $27.50

1/5/2018                  0.1     CONTINGENCY    Email exchange with Sean Flynn re Defendant's deposition       MRD Amanda Decker     $275.00          $27.50
                                                 Email exchange with Sean Flynn re objections to notice of
1/8/2018                  0.1     CONTINGENCY    deposition                                                     MRD Amanda Decker     $275.00          $27.50
                                                 Review Defedant's Discovery Responses and Send email to OC
1/9/2018                   2      CONTINGENCY    re meet and confer                                             MOB Amanda Decker     $425.00         $850.00
                                                 Prepare for Status Hearing; Motion for Protective Order;
1/10/2018                 0.6     CONTINGENCY    Motion to Extend Discovery Deadline                            MOB Amanda Decker     $425.00         $255.00
                                                 Email to Sean Flynn re document production and court
1/10/2018                 0.1     CONTINGENCY    reporter for deposition                                        MRD Amanda Decker     $275.00          $27.50
            Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 39 of 40 PageID #:776


1/11/2018                0.2    CONTINGENCY   Email to Sean Flynn re merits of case                         MOB Amanda Decker        $425.00     $85.00
                                              Email to Sean Flynn re RPM deposition and meet and confer
1/11/2018                0.2    CONTINGENCY   availability                                                  MOB Amanda Decker        $425.00     $85.00
                                              Appear for Status Hearing; Motion to Extend Discovery;
1/11/2018                2.3    CONTINGENCY   Motion for Protective Order                                   MOB Amanda Decker        $425.00    $977.50

1/11/2018                0.1    CONTINGENCY   Email exchange with Sean Flynn re Deposition of Plaintiff     MRD Amanda Decker        $275.00     $27.50

1/23/2018                0.1    CONTINGENCY   Email exhange with Sean Flynn re Defendant's deposition       MRD      Amanda Decker   $275.00     $27.50
1/25/2018                0.1    CONTINGENCY   Email exchange with Sean Flynn re Plaintiff's Deposition      MOB      Amanda Decker   $425.00     $42.50
1/25/2018                0.1    CONTINGENCY   Email to Sean Flynn re Plaintiff's Deposition                 MRD      Amanda Decker   $275.00     $27.50
                                              Email exchange with Sean Flynn re available dates for
1/29/2018                0.1    CONTINGENCY   corporate deposition and experts                              MRD      Amanda Decker   $275.00     $27.50
                                              Prepare Contested Status Report on Expert Discovery and
2/2/2018                 0.6    CONTINGENCY   Dispositive Motions                                           MOB      Amanda Decker   $425.00    $255.00
                                              Meet and Confer with Sean Flynn re Expert Discovery and
2/2/2018                 0.3    CONTINGENCY   Dispositive Motions                                           MOB      Amanda Decker   $425.00    $127.50
                                              Email to Sean Flynn with Seconded Amended Notice of
2/5/2018                 0.1    CONTINGENCY   Deposition                                                    MRD      Amanda Decker   $275.00     $27.50
2/6/2018                  3     CONTINGENCY   Appear for Plaintiff's Deposition                             MRD      Amanda Decker   $275.00    $825.00
                                              Review LiveVox Production and Prepare Email to its Counsel re
2/6/2018                 1.5    CONTINGENCY   Deposition Alternatives                                       MOB      Amanda Decker   $425.00    $637.50
2/6/2018                 0.1    CONTINGENCY   Email exchange with Sean Flynn re Deposition of RPM           MOB      Amanda Decker   $425.00     $42.50
2/8/2018                 0.3    CONTINGENCY   Phone call with Nate Read re LiveVox deposition               MOB      Amanda Decker   $425.00    $127.50
                                              Review email response from LiveVox counsel re declaration
2/8/2018                 0.2    CONTINGENCY   needed to avoid deposition                                    MOB      Amanda Decker   $425.00     $85.00
                                              Email exchange with Sean Flynn re objections to notice of
2/9/2018                 0.1    CONTINGENCY   deposition                                                    MRD      Amanda Decker   $275.00      $27.50
2/13/2018                6.9    CONTINGENCY   Prepare for RPM Deposition                                    MOB      Amanda Decker   $425.00   $2,932.50
2/14/2018                2.1    CONTINGENCY   Prepare for RPM Deposition                                    MOB      Amanda Decker   $425.00     $892.50
2/14/2018                2.8    CONTINGENCY   Appear for RPM Deposition                                     MOB      Amanda Decker   $425.00   $1,190.00
2/14/2018                0.1    CONTINGENCY   Email exchange with Nathaniel P.T. Read re depositions        MRD      Amanda Decker   $275.00      $27.50
2/15/2018                 3     CONTINGENCY   Prepare Motion to Extend Discovery and Compel                 MOB      Amanda Decker   $425.00   $1,275.00
2/15/2018                0.2    CONTINGENCY   Email to Daniel Mckenna re LiveVox Dep in O'Connor            MOB      Amanda Decker   $425.00      $85.00
2/16/2018                5.8    CONTINGENCY   Prepare Motion to Compel and Extend Discovery                 MOB      Amanda Decker   $425.00   $2,465.00
                                              Email to Sean Flynn re rescheduling 2.22.18 hearing per
2/20/2018                0.2    CONTINGENCY   defense counsel                                               MOB      Amanda Decker   $425.00     $85.00
                                              Review and analyze Defendant's response to Motion to
3/6/2018                 0.4    CONTINGENCY   Compel                                                        MOB      Amanda Decker   $425.00    $170.00
3/12/2018                0.2    CONTINGENCY   Review court's Order on Motion to Compel                      MOB      Amanda Decker   $425.00     $85.00
                                              Review Court's 3.10.18 Order and prepare emial to SEan Flynn
3/14/2018                0.2    CONTINGENCY   re available dates                                            MOB      Amanda Decker   $425.00     $85.00
                                              Phone call with Sean Flynn re RPM Deposition and Potential
3/15/2018                0.3    CONTINGENCY   Settlement                                                    MOB      Amanda Decker   $425.00    $127.50
3/22/2018                0.3    CONTINGENCY   Email exchange with LiveVox counsel re declaration            MOB      Amanda Decker   $425.00    $127.50
3/28/2018                0.5    CONTINGENCY   Phone call with Randall Snyder                                MOB      Amanda Decker   $425.00    $212.50
                                              Email exchange with Randall Snyder re expert report due
3/28/2018                0.3    CONTINGENCY   4.16.18                                                       MOB      Amanda Decker   $425.00    $127.50
4/3/2018                  2     CONTINGENCY   Prepare Motion to Compel and Email to Sean Flynn              MOB      Amanda Decker   $425.00    $850.00
                                              Email to Sean Flynn re expert discovery deadlines and RPM
4/4/2018                 0.2    CONTINGENCY   availability for deposition                                   MOB      Amanda Decker   $425.00     $85.00
                                              Reviewed email from Sean Flynn re expert discovery deadlines
4/6/2018                 0.2    CONTINGENCY   and RPM's continued deposition                                MOB      Amanda Decker   $425.00     $85.00
                                              Prepare Motion to Vacate Expert Discovery Deadlines and
4/9/2018                 1.4    CONTINGENCY   Circulate to Defense Counsel                                  MOB      Amanda Decker   $425.00    $595.00
4/9/2018                 0.1    CONTINGENCY   Email to Sean Flynn re document production                    MRD      Amanda Decker   $275.00     $27.50
                                              Revise Unopposed Motion to Vacate Discovery Deadlines after
4/10/2018                0.4    CONTINGENCY   Conferring with Sean Flynn                                    MOB      Amanda Decker   $425.00    $170.00
                                              Review and analyze Defendant's Motion for Summary
5/2/2018                 1.8    CONTINGENCY   Judgment                                                      MOB      Amanda Decker   $425.00     $765.00
5/9/2018                 1.4    CONTINGENCY   Prepare for Status Hearing and Review Defendant's MSJ         MOB      Amanda Decker   $425.00     $595.00
5/24/2018                4.6    CONTINGENCY   Prepare for RPM Continued Deposition                          MOB      Amanda Decker   $425.00   $1,955.00
5/25/2018                5.1    CONTINGENCY   Appear and Take RPM's Deposition                              MOB      Amanda Decker   $425.00   $2,167.50

7/11/2018                6.4    CONTINGENCY   Prepare Response to Defendant's Statement of Material Facts MOB        Amanda Decker   $425.00   $2,720.00
7/12/2018                7.3    CONTINGENCY   Prepare Response to Statement of Material Facts                  MOB   Amanda Decker   $425.00   $3,102.50
7/13/2018                8.1    CONTINGENCY   Prepare Response to Motion for Summary Judgment                  MOB   Amanda Decker   $425.00   $3,442.50
7/16/2018                7.8    CONTINGENCY   Prepare Response to Motion for Summary Judgment                  MOB   Amanda Decker   $425.00   $3,315.00
                                              Review and analyze Defendant's Reply in Support of Motion
7/30/2018                0.7    CONTINGENCY   for Summary Judgment                                             MOB   Amanda Decker   $425.00    $297.50
                                              Phone call with defense counsel re trial date and interest in
3/25/2019                0.3    CONTINGENCY   settlement                                                       MOB   Amanda Decker   $425.00    $127.50
3/26/2019                 2     CONTINGENCY   Appear for Status Hearing                                        MOB   Amanda Decker   $425.00    $850.00
4/3/2019                  1     CONTINGENCY   Prepare settlement demand to defendant                           MOB   Amanda Decker   $425.00    $425.00
4/3/2019                 0.4    CONTINGENCY   Phone call with client re settlement                             MOB   Amanda Decker   $425.00    $170.00
4/3/2019                 0.1    CONTINGENCY   Email exchange with Sean Flynn re Plaintiff's Demand             MOB   Amanda Decker   $425.00     $42.50
5/14/2019                 2     CONTINGENCY   Appear for Status Hearing                                        MOB   Amanda Decker   $425.00    $850.00
                                              Prepared Timesheet and Submit to Sean Flynn (settlement
6/14/2019                1.6    CONTINGENCY   efforts)                                                         MOB   Amanda Decker   $425.00    $680.00
                                              Phone call with Sean Flynn re: validity of the acceptance of the
7/12/2019                0.5    CONTINGENCY   offer of judgment                                                MOB   Amanda Decker   $425.00    $212.50
            Case: 1:17-cv-04152 Document #: 65-1 Filed: 11/05/19 Page 40 of 40 PageID #:777


                                                                 Prepare email to Sean Flynn re: validity of the acceptance of
7/12/2019                          0.3           CONTINGENCY     the offer of judgment                                              MOB Amanda Decker     $425.00     $127.50
                                                                 Case law research on offers of judgment and proper
7/12/2019                          1.3           CONTINGENCY     acceptance                                                         MOB Amanda Decker     $425.00     $552.50

7/16/2019                          0.9           CONTINGENCY     Prepare Notice of Acceptance and Related Document for Filing MOB         Amanda Decker   $425.00     $382.50
                                                                 Prepare Motion for Entry of Judgment (after defendant
7/16/2019                          3.3           CONTINGENCY     challenged the validity of the acceptance of judgment)       MOB         Amanda Decker   $425.00    $1,402.50
7/23/2019                          0.4           CONTINGENCY     Review Defendant's proposed judgment order                   MOB         Amanda Decker   $425.00      $170.00
                                                                 Prepare Plaintiff's proposed judgment order (Plaintiff's
7/23/2019                          0.6           CONTINGENCY     version)                                                     MOB         Amanda Decker   $425.00     $255.00
7/23/2019                          0.1           CONTINGENCY     Email to Sean Flynn re: proposed judgment order              MOB         Amanda Decker   $425.00      $42.50
                                                                 Email to Sean Flynn re: meet and confer pertaining to Local
8/2/2019                           0.1           CONTINGENCY     Rule 54.3 (fee petitions)                                    MOB         Amanda Decker   $425.00      $42.50
                                                                 Conference call with Sean Flynn re: deadlines prescribed by
8/6/2018                           0.5           CONTINGENCY     Local Rule 54.3                                              MOB         Amanda Decker   $425.00     $212.50
                                                                 Email exchange with Sean Flynn re: agreed deadlines
8/7/2019                           0.3           CONTINGENCY     pertaining to Local Rule 54.3                                MOB         Amanda Decker   $425.00     $127.50

8/12/2019                          1.8           CONTINGENCY     Prepare time records submission pursuant to Local Rule 54.3        MOB Amanda Decker     $425.00     $765.00
8/15/2019                          0.3           CONTINGENCY     Cursory review of Defendant's billing records                      MOB Amanda Decker     $425.00     $127.50
                                                                 Email to defense counsel re: deficiency in production of billing
8/15/2019                          0.1           CONTINGENCY     records                                                            MOB Amanda Decker     $425.00      $42.50
                                                                 Phone call with Sean Flynn re: fee petitions and prospect of
8/20/2019                          0.3           CONTINGENCY     settlement                                                         MOB Amanda Decker     $425.00     $127.50
8/21/2019                          0.2           CONTINGENCY     Email to Sean Flynn re: outstanding insurance policy               MOB Amanda Decker     $425.00      $85.00

9/4/2019                           1.2           CONTINGENCY     Case law research on ICFA attorney's fees to prevailing party      MOB Amanda Decker     $425.00     $510.00
                                                                 Prepare Ccorrespondence to Defense Counsel re: Opposition
9/4/2019                           1.8           CONTINGENCY     to Defendant's Fee Petition                                        MOB Amanda Decker     $425.00     $765.00
9/4/2019                           0.5           CONTINGENCY     Review Defendant's LR 54.3d(5) production                          MOB Amanda Decker     $425.00     $212.50
9/4/2019                           0.2           CONTINGENCY     Phone call with Sean Flynn re: LR 54.3d(5) exchange                MOB Amanda Decker     $425.00      $85.00
                                                                 Research case law on Rule 54 costs when both parties
9/20/2019                          1.2           CONTINGENCY     prevailed on some counts                                           MOB Amanda Decker     $425.00     $510.00
9/25/2019                          0.1           CONTINGENCY     Email to defense counsel re: settlement                            MOB Amanda Decker     $425.00      $42.50
                                                                 Phone call with Sean Flynn re: settlement and fee petition
9/27/2019                          0.2           CONTINGENCY     deadlines                                                          MOB   Amanda Decker   $425.00       $85.00
9/30/2019                          5.3           CONTINGENCY     Prepare Response to Defendant's Bill of Costs                      MOB   Amanda Decker   $425.00    $2,252.50
10/10/2019                         0.2           CONTINGENCY     Review Local Rule 54.3(e) re: joint statement                      MOB   Amanda Decker   $425.00       $85.00
10/10/2019                         2.3           CONTINGENCY     Prepare Draft of Local Rule 54.3 Joint Statement                   MOB   Amanda Decker   $425.00      $977.50
                                  138.8                                                                                                                             $54,420.00


                     Attorney Breakdown
Attorney                          Hours              Fees
Mohammed Badwan (MOB)              112              $47,600.00
Marwan Daher (MRD)                 24.8              $6,820.00
Nathan Volheim (NCV)                NC                NC
Total                             136.8           $54,420.00

                          Expenses
Date                      Description                 Cost
5/31/2017                 Filing Fee                $400.00
6/11/2017                 Service of Summons         $49.00
2/23/2018                 Ecoscribe Transcript     $1,203.46
7/4/2018                  Ecoscribe Transcript     $1,328.00
8/29/2018                 Veritext Transcript       $751.15
                                                   $3,731.61
